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                            UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION

In re:                                                                  Case No.: 6:21-bk-01610-KSJ
                                                                        Chapter 7
  YAN CHEE CHAN


Debtor.
                                                /

          MOTION FOR ORDER APPROVING SALE OF ESTATE’S
  INTEREST IN NON-EXEMPT REAL ESTATE IN ORANGE COUNTY, FLORIDA
     Trustee, Arvind Mahendru, by and through his undersigned counsel, moves this Court for
 authority to sell the estate’s interest in real property on the following terms:
 1. The property to be sold is the estate’s interest in non-exempt residential real estate in Orange
     County, Florida, said real estate being more particularly described as follows:
                NOTICE OF OPPORTUNITY TO OBJECT AND REQUEST FOR HEARING

  If you object to the relief requested in this paper, you must file a response with the Clerk of the U.S.
  Bankruptcy Court, 400 W. Washington St., Ste. 5100, Orlando, FL 32801 and serve a copy on Arvind
  Mahendru, Attorney, 5703 Red Bug Lake Road #284, Winter Springs, Florida 32708 within 21 days from
  the date of the attached proof of service, plus an additional three days if this paper was served on any party
  by U.S. Mail.

  If you file and serve a response within the time permitted, the Court will either notify you of a hearing
  date or the Court consider the response and grant or deny the relief requested in this paper without a
  hearing. If you do not file a response within the time permitted, the Court will consider that you do not
  oppose the relief requested in the paper, and the Court may grant or deny the relief requested without
  further notice or hearing.

  You should read these papers carefully and discuss them with your attorney if you have one. If the paper
  is an objection to your claim in this bankruptcy case, your claim may be reduced, modified, or eliminated
  if you do not timely file and serve a response.

   Lot 11, Summerport Phase 4, according to the map or plat thereof, as recorded in Plat
   Book 55, Page(s) 26 Through 33, Inclusive, of the Public Records of Orange County,
   Florida
   a/k/a 14243 Sonco Avenue, Windermere, FL 34786

2. Manner of Sale: The buyer has been procured through the efforts of the estate’s realtor, Century
             21 Carioti, and BK Global Real Estate Services (“BKRES”). The buyer has made an
             earnest money deposit in the amount of $22,000.00, and is ready to complete the
             purchase for the sales price indicated below, upon approval of the sale by the Court.
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                  Trustee proposes to convey whatever interest the Estate has in the property to the Buyer
                  upon approval of this Motion.
  3. Terms of Sale:
    a. Buyer:    Nan Xu
     b. Sales Price: $440,000.00
    c. Appraised Value: The property is appraised by the Seminole County Property Appraiser with a
value of $362,000.00. The property was listed on the MLS and produced multiple offers, the current
contract being the highest and best.
     d. Costs of Sale: This is a lender approved short sale and the lender has agreed to pay the
     following costs associated with transfer of title:
             Real Estate Commission & Costs                         26,400.00
             Title Charges                                          4,070.00
             Documentary Stamp Tax on Deed                          3,216.00
            Bankruptcy Estate Carve Out                             14,850.00
             Mortgage Payoff                                        265,795.13 *
             Second Mortgage                                        99,311.21 *
             Third Mortgage                                         11,656.88 *
             Unpaid Property Tax                                    8,643.87
             Prorated 2021 Property Tax                             3,082.60 *
             HOA Fees                                               3,225.00

             Total                                                 $440,000.00
     * estimate
       The net proceeds to the estate consist of the carve-out in the amount of $14,850.00 and a
     buyer’s premium of $3,000.00. The first mortgage has agreed to accept a minimum payment of
     $265,795.13 as full payment and satisfaction of their mortgage, and any excess funds resulting
     from overestimate of closing costs will be applied to the payoff. The short sale approval letter is
     attached as Exhibit “A.” The second mortgage has agreed to accept a minimum payment of
     $99,311.21 and the short sale approval letter is attached as Exhibit “B.” The third mortgage has
     agreed to accept a minimum payment of $11,656.88 and the short sale approval letter is attached
     as Exhibit “C.”
     e. Trustee intends to transfer title to the property by trustee’s deed, subject to current year’s taxes,
     assessments, zoning, restrictions, and other requirements imposed by governmental authorities,
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 and other matters appearing on the plat or otherwise common to the subdivision, and public utility
 easements of public record.
 f. The estate will provide a trustee’s deed to the buyer and certified copies of the Order approving
 sale, Notice of Commencement of bankruptcy and of the docket, reflecting no objections to the
 sale, or if any, that said objections were overruled by Court Order. Trustee is unaware of the
 existence of any liens or encumbrances on the property except as disclosed above. There are no
 adverse tax consequences of the sale to the estate.
 g. The Trustee respectfully requests that this Court: (a) waive the 14-day stay pursuant to Rule
 6004(h), deem the sale order enforceable immediately upon entry, and authorize the Trustee to
 close on the sale immediately upon entry of the Final Sale Order; (b) authorize the Trustee to take
 all actions and execute all documents he deems reasonable, necessary and/or desirable to effectuate
 the requested relief; (c) retain sole and exclusive personal subject matter jurisdiction to implement,
 interpret and enforce the terms of this Motion and the Final Sale Order; and (d) adjudicate all
 claims, controversies and/or disputes arising from or related to this sale.
        WHEREFORE, Trustee moves this Court to enter an Order authorizing the sale of the
 property as set forth above and waive the 14-day stay pursuant to Rule 6004(h).



                                          Respectfully submitted,

                                          /s/ Arvind Mahendru
                                          Arvind Mahendru, Esq.
                                          5703 Red Bug Lake Rd. #284
                                          Winter Springs, FL 32708
                                          407-504-2462

                                     CERTIFICATE OF SERVICE

    I hereby certify that a copy of the foregoing has been served by U.S. Mail and/or electronic
delivery to all parties listed below and on the attached list this September 2, 2021:

Suntrust Bank
c/o Burr Forman via ECF

Aquesta Bank
c/o Michael Tessitore, Esq via ECF

                                                  /s/ Arvind Mahendru
                                                  Arvind Mahendru
